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 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   QIANG ZHANG,
                                                         C 3:23-cv-01024 LJC
13                              Plaintiff,

14          v.                                           STIPULATION TO STAY PROCEEDINGS;
                                                         ORDER
15   USCIS SAN FRANCISCO ASYLUM
     OFFICE.,
16
                                Defendant.
17

18

19          The parties, through their undersigned attorneys, hereby stipulate and respectfully request the

20 Court to stay proceedings in this case for a limited time, until November 22, 2023. The parties make this

21 joint request because they are pursuing an administrative resolution that may render further litigation of

22 this case unnecessary.

23          Plaintiff filed this mandamus action seeking adjudication of his Form I-589, Application for

24 Asylum and Withholding of Removal. United States Citizenship and Immigration Services (“USCIS”)

25 scheduled an interview for Plaintiff for July 25, 2023. USCIS will work diligently towards completing

26 adjudication of the I-589 application, absent unforeseen or exceptional circumstances that would require

27 additional time for adjudication.

28
     Stip to Stay Proceedings
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 1          Accordingly, the parties stipulate and request that the proceedings in this case be stayed until

 2 November 22, 2023, at which time the parties will file a joint status report with the Court. At that time,

 3 the parties may request a further continuance of the stay of proceedings, dismissal of the litigation if

 4 appropriate, or placement of the case back on the Court’s active docket. A stay of proceedings in this

 5 case will benefit the parties and conserve the Court’s resources while the parties pursue a potential

 6 administrative resolution. In accordance with Civil Local Rule 5(i)(3), the filer of this document attests

 7 that all signatories listed herein concur in the filing of this document.

 8 Dated: April 6, 2023                                   Respectfully submitted,

 9                                                        ISMAIL J. RAMSEY
                                                          United States Attorney
10

11                                                         /s/ Elizabeth D. Kurlan
                                                          ELIZABETH D. KURLAN
12                                                        Assistant United States Attorney
                                                          Attorneys for Defendant
13

14 Dated: April 6, 2023
                                                            /s/ Michael Chen
15                                                        MICHAEL CHEN
                                                          Attorney for Plaintiff
16

17                                                   ORDER

18       Pursuant to stipulation, IT IS SO ORDERED.

19

20 Date: April 7, 2023
                                                                                               _
21                                                        LISA J. CISNEROS
                                                          United States Magistrate Judge
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     Stip to Stay Proceedings
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